976 F.2d 728
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Dailon Lee Grant RAY, a/k/a Dailon Leegrant Ray, a/k/aDailon Legrand Ray, a/k/a Dailon Legrant Ray,Defendant-Appellant.
    No. 92-6668.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 31, 1992Decided:  September 23, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Wilmington.  James C. Fox, Chief District Judge.  (CR-87-25-CR-7, CA-92-66-CIV-7)
      Dailon Lee Grant Ray, Appellant Pro Se.
      Solomon Louis Wisenberg, Assistant United States Attorney, Raleigh, North Carolina, for Appellee.
      E.D.N.C.
      AFFIRMED.
      Before SPROUSE and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Dailon Lee Grant Ray appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Ray, No. CR-87-25-CR-7, CA-92-66-CIV-7 (E.D.N.C. May 19, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    